      Case: 1:15-cv-02760 Document #: 103 Filed: 12/19/18 Page 1 of 3 PageID #:5700



                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    In re: TESTOSTERONE                                  )
    REPLACEMENT THERAPY                                  ) MDL No. 2545
    PRODUCTS LIABILITY LITIGATION                        )
                                                         ) Master Docket Case No. 1:14-cv-01748
                                                         )
                                                         ) Honorable Matthew F. Kennelly
                                                         )
    This Document Relates To:                            )
    Rowley v. AbbVie Inc.,                               )
    Case No. 1:15-cv-02760                               )


    DEFENDANT ABBVIE’S UNOPPOSED SUPPLEMENTAL MOTION FOR RULING ON
                          BILL OF COSTS (DKT. 93)

           In response to the Court’s request for supplemental documentation (Dkt. 102), Defendant

    AbbVie Inc. herein addresses the status of Plaintiff Rowley under the Master Settlement

    Agreement (“MSA”) and why he is not eligible to participate as a Claimant in the settlement

    program set forth in the MSA.

           The MSA’s definition of “Claimant” expressly excludes any plaintiff who had a

    judgment entered against him and has no existing right to appeal. See MSA Section I.J (“For the

    avoidance of doubt, Claimants do not include individuals whose AndroGel-related cases have

    been dismissed with prejudice (and not reinstated by a court of competent jurisdiction) or against

    whom judgment has been entered with no existing right of appeal.”). There is no dispute that

    Plaintiff Rowley lost at trial and has no existing right to appeal. Therefore, the parties to the

    MSA agree that he is excluded from the MSA’s definition of “Claimant” and cannot participate

    as a Claimant in the settlement program.

           As the Court observed, Exhibit A to the MSA lists Plaintiff Rowley as one of thousands

 


                                                     1
      Case: 1:15-cv-02760 Document #: 103 Filed: 12/19/18 Page 2 of 3 PageID #:5701



    of potential Claimants. But Plaintiff Rowley’s inclusion on this list was an administrative error

    and in any event, is not determinative of whether he is a Claimant. Exhibit A is intended to be a

    template for the official Claimants List (defined by Section I.I of the MSA) and was created

    using all active cases that had been filed in the MDL against AbbVie before the MSA was

    signed. It will be finalized within 90 days after the MSA’s execution pursuant to Section IV.D.2

    of the MSA, and both parties expect that it will change during this period. Under the plain

    language of the MSA, Plaintiff Rowley, who lost at trial and has no existing right to appeal, is

    not eligible to be considered a Claimant under the settlement program set forth in the MSA and

    should not be included on the final Claimants List (and should not have been included in Exhibit

    A).


    Date: December 19, 2018                             Respectfully submitted,

                                                        /s/ Andrew J. Rima
                                                        Shayna S. Cook
                                                        Andrew J. Rima
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                                                    2
       Case: 1:15-cv-02760 Document #: 103 Filed: 12/19/18 Page 3 of 3 PageID #:5702



                                       CERTIFICATE OF SERVICE

           I hereby certify that on December 19, 2018, I electronically filed the foregoing document

    to the Clerk of the United States District Court using the CM/ECF system for filing and service

    to all parties/counsel registered to received copies in this case.


                                                           /s/ Andrew J. Rima




 


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